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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

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In re:                                                    Case No. 08-

SHAPES/ARCH HOLDINGS L.L.C., et al.,                      Judge:

                Debtors.                                  Chapter: 11


        INTERIM ORDER: (I) PROHIBITING UTILITY COMPANIES FROM
      DISCONTINUING, ALTERING OR REFUSING SERVICE; (II) DEEMING
     UTILITY COMPANIES TO HAVE ADEQUATE ASSURANCE OF PAYMENT;
      AND (III) ESTABLISHING PROCEDURES FOR RESOLVING REQUESTS
          FOR ADDITIONAL ASSURANCE PURSUANT TO 11 U.S.C. § 366


         The relief set forth on the following pages, numbered two (2) through three (3), is hereby

ORDERED.
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Shapes/Arch Holdings L.L.C., et al.

Case No. 08-

Interim Order: (i) Prohibiting Utility Companies from Discontinuing, Altering or Refusing Service; (ii) Deeming
Utility Companies to Have Adequate Assurance of Payment; and (iii) Establishing Procedures for Resolving
Requests for Additional Assurance Pursuant to 11 U.S.C. § 366



         Upon consideration of the verified motion (the “Motion”)1 of the above-captioned

debtors and debtors-in-possession (the “Debtors”), for entry of interim and final orders pursuant

to 11 U.S.C. § 366: (i) prohibiting the Utility Companies from altering, refusing or

discontinuing services to the Debtors on the basis of the commencement of these cases or on

account of any unpaid invoices for services provided prior to the Petition Date; (ii) deeming the

Utility Companies adequately assured of future performance on the basis of the establishment of

a Utility Deposit; and (iii) establishing procedures for resolving requests for additional assurance

of payment, notice of the Motion being sufficient under the circumstances; and sufficient cause

appearing therefor, it is ORDERED:

         1.      That the Motion is GRANTED.

         2.      That until such time as the Final Order is entered by the Court, all Utility

Companies are prohibited from: (i) altering, refusing or discontinuing services to, or

discriminating against, the Debtors on the basis of the commencement of these cases or on

account of any unpaid invoice for services provided prior to the Petition Date; and (ii) requiring

payment of a deposit or receipt of any other security for continued services as a result of the

Debtors’ bankruptcy filings or any outstanding prepetition invoices other than as set forth in the

Motion.



1
  Unless otherwise defined herein, all capitalized terms shall have the same meanings ascribed to
them in the Motion.

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Shapes/Arch Holdings L.L.C., et al.

Case No. 08-

Interim Order: (i) Prohibiting Utility Companies from Discontinuing, Altering or Refusing Service; (ii) Deeming
Utility Companies to Have Adequate Assurance of Payment; and (iii) Establishing Procedures for Resolving
Requests for Additional Assurance Pursuant to 11 U.S.C. § 366


         3.      The Motion and this Interim Order shall be served, via first-class mail, on each

Utility Company the Debtors believe could be affected by the Motion and all other parties

required to receive service under Federal Rule of Bankruptcy Procedure 2002 within five (5)

days of entry of this Interim Order.

         4.      The deadline by which objections to the Motion and the Final Order must be filed

by is                                       , at 4:00 p.m.

         5.      A final hearing, if required, on the Motion will be held on

at                a.m/p.m.

         6.      If no objections are filed to the Motion, the Court may enter the Final Order

without further notice or hearing.




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